            Case 16-17312-mdc             Doc 100 Filed 01/18/19 Entered 01/19/19 01:04:23                                 Desc
                                         Imaged Certificate of Notice Page 1 of 3
                                              United States Bankruptcy Court
                                            Eastern District of Pennsylvania
In re:                                                                                                     Case No. 16-17312-mdc
Marilyn Torres                                                                                             Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0313-2                  User: DonnaR                       Page 1 of 2                          Date Rcvd: Jan 16, 2019
                                      Form ID: 138NEW                    Total Noticed: 16


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 18, 2019.
db             +Marilyn Torres,   8841 Duveen Drive,    Glenside, PA 19038-7453
13809031       +Acs/sallie Mae,   501 Bleecker St,    Utica, NY 13501-2401
13809033       +Chase Manhattan Mortgage,    Attn: Bankruptcy Dept,   3415 Vision Dr,   Columbus, OH 43219-6009
14091395       +Dunne Law Offices, P.C.,    1515 Market Street, Suite 1200,   Philadelphia, PA 19102-1932
13945425       +PNC BANK N.A.,   PO BOX 94982,    CLEVELAND, OHIO 44101-4982
13809034       +Pnc Bank,   Attn: Bankruptcy,    2730 Liberty Ave,   Pittsburgh, PA 15222-4747
13952099       +Rebecca A. Solarz, Esquire,    KML Law Group, P.C.,   701 Market Street, Suite 5000,
                 Philadelphia, PA 19106-1541
13812963       +U.S. Bank National Assoc,    c/o Jamie D. Hanawalt,   Adridge Pite LLP,
                 4375 Jutland Drive ste 200,    San Diego, CA 92117-3600

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: megan.harper@phila.gov Jan 17 2019 05:33:12       City of Philadelphia,
                 City of Philadelphia Law Dept.,    Tax Unit/Bankruptcy Dept,     1515 Arch Street 15th Floor,
                 Philadelphia, PA 19102-1595
smg             E-mail/Text: RVSVCBICNOTICE1@state.pa.us Jan 17 2019 05:32:30
                 Pennsylvania Department of Revenue,     Bankruptcy Division,    P.O. Box 280946,
                 Harrisburg, PA 17128-0946
smg            +E-mail/Text: usapae.bankruptcynotices@usdoj.gov Jan 17 2019 05:33:03        U.S. Attorney Office,
                 c/o Virginia Powel, Esq.,    Room 1250,    615 Chestnut Street,    Philadelphia, PA 19106-4404
cr              E-mail/Text: ally@ebn.phinsolutions.com Jan 17 2019 05:32:02        Ally Bank,
                 serviced by Ally Servicing LLC,    PO Box 130424,    Roseville, MN 55113-0004
cr             +E-mail/PDF: gecsedi@recoverycorp.com Jan 17 2019 06:54:45        Synchrony Bank,
                 c/o PRA Receivables Management, LLC,     PO Box 41021,   Norfolk, VA 23541-1021
13814808        E-mail/Text: ally@ebn.phinsolutions.com Jan 17 2019 05:32:02        Ally Bank,    PO Box 130424,
                 Roseville MN 55113-0004
13809032        E-mail/PDF: ais.bmw.ebn@americaninfosource.com Jan 17 2019 05:35:21        BMW Financial Services,
                 Attn: Bankruptcy Department,    Po Box 3608,    Dublin, OH 43016
13872815       +E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Jan 17 2019 06:08:20
                 PRA Receivables Management, LLC,    PO Box 41021,    Norfolk, VA 23541-1021
                                                                                               TOTAL: 8

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                 U.S. Bank Trust National Association, as Trustee o
14091576*         +DUNNE LAW OFFICES, P.C.,   1515 MARKET STREET, SUITE 1200,                    PHILADELPHIA, PA 19102-1932
                                                                                                                TOTALS: 1, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 18, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 16, 2019 at the address(es) listed below:
              KEVIN G. MCDONALD    on behalf of Creditor    PROF-2013-S3 Legal Title Trust II, by U.S. Bank
               National Association, as Legal Title Trustee bkgroup@kmllawgroup.com
              MATTEO SAMUEL WEINER    on behalf of Creditor    PROF-2013-S3 Legal Title Trust II
               bkgroup@kmllawgroup.com
              RAYMOND M. KEMPINSKI    on behalf of Plaintiff Marilyn Torres ecfmail@mwc-law.com,
               ecfmail@ecf.courtdrive.com
              REBECCA ANN SOLARZ    on behalf of Creditor    PROF-2013-S3 Legal Title Trust II, by U.S. Bank
               National Association, as Legal Title Trustee bkgroup@kmllawgroup.com
              STEPHEN MATTHEW DUNNE    on behalf of Plaintiff Marilyn Torres bestcasestephen@gmail.com,
               dunnesr74587@notify.bestcase.com
              STEPHEN MATTHEW DUNNE    on behalf of Debtor Marilyn Torres bestcasestephen@gmail.com,
               dunnesr74587@notify.bestcase.com
              United States Trustee    USTPRegion03.PH.ECF@usdoj.gov
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                             Form ID: 138NEW              Total Noticed: 16


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              WILLIAM C. MILLER, Esq.   on behalf of Trustee WILLIAM C. MILLER, Esq. ecfemails@ph13trustee.com,
               philaecf@gmail.com
              WILLIAM C. MILLER, Esq.   ecfemails@ph13trustee.com, philaecf@gmail.com
                                                                                            TOTAL: 9
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                                Imaged Certificate of Notice Page 3 of 3
                             UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________________________
In Re: Marilyn Torres
                Debtor(s)                                 Bankruptcy No: 16−17312−mdc
                                                          Chapter: 13
_____________________________________________________________________________________________


                                             NOTICE OF DEADLINES

To the debtor, debtor's counsel, trustee, and all creditors and parties in interest, NOTICE IS GIVEN
THAT:

     1. The Standing Chapter 13 Trustee has filed his final report and account.

      2. Any objection to the Final Report and Account pursuant to Federal Rule 5009, must be
filed within 30 days from the date of this Notice with the Clerk of the U.S. Bankruptcy Court.

      3. Any objection to the entry of the Debtor(s)' Order of Discharge or request to delay the
entry of discharge pursuant to 11 U.S.C. § l 328(h), must be filed in writing within 14 days from
the date of this Notice with the Clerk of the U.S. Bankruptcy Court.
     4. All objections must be filed with the Clerk at the following address:

                                        900 Market Street
                                             Suite 400
                                      Philadelphia, PA 19107

    5. In the absence of any objection, the Court may approve the Trustee's Final Report and
Account and enter the Order of Discharge.




                                                                                      For The Court
                                                                                Timothy B. McGrath
                                                                                     Clerk of Court


Dated: 1/16/19
                                                                                                             99 − 98
                                                                                                       Form 138_new
